         Case 4:19-cv-07966-JST Document 8-1 Filed 12/09/19 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


                 NOTICE OF ELIGIBILITY FOR VIDEO RECORDING



       This case is assigned to a judge who participates in the Cameras in the Courtroom Pilot

Project. See General Order 65 and cand.uscourts.gov/cameras. The parties’ consent is required

before any proceedings in this case may be recorded. If a party, the presiding judge, or a

member of the media requests that a proceeding be recorded, consent of the parties will be

presumed unless a party submits an Objection to Request for Video Recording form as directed

by the Cameras in the Courtroom Procedures.



       Parties objecting to video recording are asked, for research purposes, to communicate to

the Court the reasons for declining to participate. If you decline to participate, you should

candidly convey the reasons for your decision. Whether you agree to participate or decline to

participate will have no effect on your case whatsoever.




                                                      Susan Y.
                                                            Y Soong
                                                               Soong, Clerk of Court
                                                                               C
